
41 A.3d 569 (2012)
425 Md. 394
In the Matter of the APPLICATION OF Latosha Lavette COLEMAN for Admission to the Bar of Maryland.
Misc. Docket No. 22, September Term, 2011.
Court of Appeals of Maryland.
April 11, 2012.
Norman L. Smith, Esq., of Fisher &amp; Winner, LLP, Baltimore, MD, for Applicant.
Argued before BELL, C.J., HARRELL, BATTAGLIA, GREENE, ADKINS, BARBERA and McDONALD, JJ.

ORDER
The Court having considered the favorable recommendations of the State Board of Law Examiners and the Character Committee for the Seventh Appellate Circuit of Maryland and the oral argument of the applicant's counsel presented at a hearing held before this Court on April 10, 2012, it is this 11th day of April, 2012,
ORDERED, by the Court of Appeals of Maryland, that the favorable recommendations of the State Board of Law Examiners and the Character Committee for the Seventh Appellate Circuit be, and they are hereby, accepted, and it is further
ORDERED, that the applicant, upon taking the oath prescribed by the statute, be admitted to the practice of law in this State.
